  1 Alan A. Meda (#009213)
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  5 Attorneys for Debtor/Defendant

  6                        UNITED STATES BANKRUPTCY COURT
  7                             FOR THE DISTRICT OF ARIZONA
  8 In re                                        Chapter 7
  9 PAUL OLIVA PARADIS,
                                                 Case No.: 2:20-bk-06724-PS
 10                       Debtor.
 11
      CITY OF LOS ANGELES,                       Adv. No.: 2:21-ap-00171-PS
 12
                   Plaintiff,                    DECLARATION OF ALAN A. MEDA
 13                                              IN SUPPORT OF REPLY
      v.                                         MEMORANDUM IN FURTHER
 14                                              SUPPORT OF PARADIS’ MOTION TO
                                                 STAY THE CITY OF LOS ANGELES’
 15 PAUL OLIVA PARADIS,                          ADVERSARY PROCEEDING
 16                Defendant.

 17

 18         I, Alan A. Meda, declare under penalty of perjury under the laws of the United
 19 States as follows:

 20         1.     I am counsel for Debtor and Defendant Paul Oliva Paradis (“Paradis”). I
 21 submit this declaration in support of Debtor’s Reply Memorandum in Further Support of

 22 Paradis’ Motion to Stay the City of Los Angeles’ Adversary Proceeding. I have personal

 23 knowledge of the facts set forth herein and, if called upon to do so, I could and would

 24 competently testify to the matters stated herein.

 25         2.     Attached as Exhibit A hereto is a true and correct copy of the Complaint
 26 filed on February 7, 2022 with the State Bar of California against Los Angeles City

 27 Attorney Michael N. Feuer.

 28
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  1        3.     Attached as Exhibit B hereto is a true and correct copy of the Response and
  2 Objection to Special Master Report filed by the City of Los Angeles.

  3        4.     Attached as Exhibit C hereto is a true and correct copy of an article that
  4 appeared online on January 28, 2022 in the publication California Energy Markets.

  5        5.     Attached as Exhibit D is a true and correct copy of the Deposition
  6 Transcript of Michael Feuer taken on August 13, 2019.

  7        6.     Attached as Exhibit E is a true and correct copy of the Feuer Deposition
  8 Errata dated August 26, 2019.

  9        7.     Attached as Exhibit F is a true and correct copy of the Plea Agreement for
 10 Defendant Thomas H. Peters.

 11        DATED this 24th day of February 2022.
 12                                          BURCH & CRACCHIOLO, P.A.
 13
                                             By /s/ Alan A. Meda (#009213)
 14                                          Alan A. Meda
                                             Attorney for Debtor/Defendant
 15

 16

 17

 18 Served via ECF on CM/ECF users
    this 14th day of February 2022,
 19 which constitutes service pursuant
    to L.R. Bankr. P. 9076-1:
 20

 21
     /s/ Tracy Dunham
 22 Tracy Dunham

 23

 24

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